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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BEN ABBOTT & ASSOCIATES, PLLC               §
                                            §
       Plaintiff,                           §
                                            §
v.                                          §        Civil Action No. 3:20-cv-00463-M
                                            §
ACCIDENT INJURY LEGAL CENTER                §
                                            §
       Defendant.                           §


                        DEFENDANT’S REPLY IN SUPPORT OF
                      MOTION TO DISMISS PLAINTIFF’S PETITION


Date: April 6, 2020                    Respectfully submitted,

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                               REPLY ARGUMENT & AUTHORITIES

       Abbott seeks to extend protection for its alleged trademarks well-beyond the scope of what

Texas common law and the Lanham Act allow. The Court should dismiss Abbott’s trademark

claim because it is well-established by both this Court and courts across this country that the mere

bidding on trademarked terms to generate internet search results – which is the sole basis for

Abbott’s claim – is not actionable as a matter of law. See, e.g., Alzheimer’s Disease & Related

Disorders Ass’n, Inc. v. Alzheimer’s Found. Of Am., Inc., 307 F. Supp. 3d 260 (S.D.N.Y. 2018)

(“Virtually no court has held that, on its own, a defendant’s purchase of a plaintiff’s mark as a

keyword term is sufficient for liability.”); see also Dkt. 8 at 2-3 (citing cases). Indeed, this Court

has itself refused to enjoin a defendant from keyword bidding even after a jury finding of willful

infringement. See Mary Kay v. Weber, 661 F.Supp.2d 632, 646 (N.D. Tex. 2009) (Fish, J.).

Tellingly, Abbott does not cite a single case that supports its position that bidding on trademarked

terms, by itself, can support a claim for trademark infringement. Abbott’s infringement claim

should be dismissed with prejudice.

       This Court should also dismiss Abbott’s tortious interference claim because Abbott fails to

plead facts that show (1) a reasonable probability that Abbott would have entered into contractual

relationships with any of the internet users that Abbott claims were its prospective clients, and (2)

that AILC engaged in any act that was independently tortious. Both of these missing elements are

necessary to sustain a claim for tortious interference with prospective business relationships.

Accordingly, Abbott’s tortious interference claim should also be dismissed with prejudice.

   A. Abbott Asks This Court to Apply the Wrong Standard at the Motion to Dismiss Stage.

       As an initial matter, Abbott misses the mark regarding the legal standard for a motion to

dismiss under Rule 12(b)(6). While Abbott urges the Court to “tak[e] all evidence in the light most

favorable to the plaintiff,” Dkt. 9 at 6, that summary judgement standard is inappropriate at the

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motion to dismiss stage. Instead, under the Rule 12(b)(6) standard, the Court may not look beyond

the four corners of the plaintiff's pleadings. McCartney v. First City Bank, 970 F.2d 45, 47 (5th

Cir.1992). Thus, while Abbott attempts to flesh out its allegations through its Response, this Court

must only consider the allegations (or lack thereof) contained in Abbott’s Petition for the purposes

of AILC’s Motion to Dismiss.

         Additionally, Abbott incorrectly argues that its claims should survive the motion to dismiss

stage and proceed to trial simply as a matter of due process. 1 See Dkt. 9 at 5-6. However, it is

axiomatic that a plaintiff is not entitled to proceed beyond the motion to dismiss stage unless it

pleads, and alleges facts to support, each and every element of his asserted claims for relief. See

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“[A] plaintiff’s obligation to plead the

grounds of his entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.”) (internal quotations omitted). Abbott

has not, and cannot, met this burden on any of his claims, and therefore dismissal of his Petition

with prejudice is appropriate at this stage.

    B. Bidding on Abbott’s Name as a Marketing Keyword, Without More, is Not
       Actionable Trademark Infringement.

         Abbott’s trademark infringement claim fails as a matter of law because Abbott does not

allege any facts to support the requisite “likelihood of confusion” element. “To prove infringement,

a plaintiff must show that the defendant’s use of the mark ‘creates a likelihood of confusion in the

minds of potential customers as to the source, affiliation, or sponsorship of the product or service

at issue.’” Alliance for Good Gov't v. Coal. for Better Gov't, 901 F.3d 498, 508 (5th Cir. 2018)



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  In support of this misguided argument, Abbott incorrectly claims that “most if not all of the cases cited [in AILC’s
Motion to Dismiss] were heard by appellate courts after the plaintiffs had an opportunity to present their evidence at
trial.” Dkt. 9 at 5. This claim could not be further from the truth. To the contrary, even a cursory review of AILC’s
Motion reveals that the the vast majority of the cases that AILC and relies upon are district court opinions, not appellate
opinions, that were issued either at the motion to dismiss, injunctive relief, or summary judgment stage.

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(quoting Bd. of Supervisors for La. State Univ. Agric. & Mech. College v. Smack Apparel Co., 550

F.3d 465, 478 (5th Cir. 2008)). “The required showing is a ‘probability’ of confusion, not merely

a ‘possibility.’” Alliance, 901 F.3d at 508 (emphasis added); Viacom Int'l v. IJR Capital

Investments, L.L.C., 891 F.3d 178, 192 (5th Cir. 2018). Moreover, courts across the country have

consistently held that there can be no likelihood of confusion where the resulting advertisement

does not contain the trademark in question. See Dkt. 8 at 5-6 (citing cases).

       Here, Abbott’s Petition does not include any allegation that the AILC’s resulting webpage

or advertisements include Abbott’s alleged trademarks. In fact, Abbott admits that when AILC’s

website shows up in search engine results, “[t]he client or prospective client sees ‘Accident Injury

Legal Center’” rather than Abbott’s trademark. Dkt. 9 at 7. Abbott then speculates that a person

searching for Abbott “may very well assume that Abbott used this name for Abbott’s site, and that

by clicking the link for ‘Accident Injury Legal Center,’ it would be directed to Abbott’s website.”

Id. This unsupported conjecture falls far short of Abbott’s burden to plead facts that support a

probability of confusion, and not a mere possibility, in order to establish a claim for trademark

infringement. See Alliance, 901 F.3d at 508. Abbott’s speculation also falls short of a plaintiff’s

general burden to show more than a “sheer possibility that a defendant has acted unlawfully” to

defeat a motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (A plaintiff must “plead[]

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.”).

       Under these basic pleading standards, Abbott has failed to plead the requisite element of

the likelihood of confusion to support his trademark infringement. Moreover, under the

overwhelming weight of case law, Abbott’s allegations of mere bidding on a trademark cannot




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support a likelihood of confusion as a matter of law. Consequently, Abbott’s trademark

infringement claim should be dismissed with prejudice.

B. The Cases Abbott Cites are Inapplicable or Undermine Its Position.

          The authorities Abbott cites in its muddled analysis of the likelihood of confusion are

generally inapplicable and, in certain instances, contradictory to Abbott’s position. Generally,

when a protected mark is used in advertisement, the court considers the “digits of confusion” in

assessing whether the advertisement “creates a likelihood of confusion as to affiliation or

endorsement.” Mary Kay, Inc. v. Weber, 601 F. Supp. 2d at 857. However, Abbott does not allege

that AILC has actually used any of Abbott’s alleged marks in AILC’s advertisements or website.

In fact, Abbott admits that AILC’s website clearly identifies Accident Injury Legal Center as the

sponsor of the content. Dkt. 9 at 7 (“AILC’s website showing up at the very top of the search

engine results[ and] [t]he client or prospective client sees “Accident Injury Legal Center’”).

Because AILC does not use any portion of Abbott’s marks in its ads, there is no need for this Court

to engage in the digits of confusion analysis to find that there is no likelihood of confusion as a

matter of law.

          Abbott primarily relies on College Network, Inc. v. Moore Educ. Publishers, Inc., which

actually supports dismissal of Abbott’s trademark infringement claim. In College Network, the

jury rendered a verdict finding no trademark infringement from defendant’s purchase of the

trademarked term “The College Network” as a search engine keyword for sponsored-link

advertising. College Network, Inc. v. Moore Educ. Publishers, Inc., 378 Fed. App’x 403, 413 (5th

Cir 2010). The Fifth Circuit upheld the jury’s verdict in holding that “the evidence did not compel

a finding of likelihood of confusion under the relevant Fifth Circuit law.” Id. at 414 (emphasis

added).



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       Abbott also inappropriately relies the Ninth Circuit’s three factor test from

Perfumebay.com Inc. v. eBay, Inc., 506 F.3d 1165, 1173 (9th Cir.2007), a rule that the Fifth Circuit

has expressly rejected. Abbott claims that the Fifth Circuit “pondered” the Ninth Circuit’s Perfume

Bay test in College Network and then attempts to apply the Ninth Circuit’s test to this case. See

Dkt. 9 at 8. However, this analysis is inappropriate as College Network court explicitly stated that

“the Fifth Circuit has never adopted this rule,” and rejected its application.

       In sum, Abbott fails to cite any legal authority that supports its theory of infringement

liability or that controverts the numerous cases supporting dismissal Abbott’s infringement claim.

As such, Abbott’s trademark infringement claim should be dismissed with prejudice.

C. Abbott’s Tortious Interference Claim Still Fails to State a Claim.

       Abbott fails to assert any argument or authority that would save its tortious interference

claim from dismissal. Abbott attempts to distinguish Nano-Proprietary v. Canon based on the fact

that Nano only involved one prospective customer, while Abbott’s claim involves many allegedly

prospective customers. But this is a distinction without difference. The number of prospective

customers at issue does not change the elements of a tortious interference claim under Texas law.

This is evident from the fact that Fifth Circuit required the exact same elements for the tortious

interference claim involving numerous potential customers in College Network. See College

Network, 378 Fed. Appx. at 413 (“[A] plaintiff must show a ‘reasonable probability’ of a

contractual relationship that extends beyond ‘mere negotiations’ with a prospective customer.”)

(citations omitted).

       Abbott’s Petition does not, and cannot, satisfy the reasonable probability element required

to support a tortious interference claim. Abbott attempts to cure this deficiency by claiming that it

is “possible” that some of the internet users who viewed AILC’s website were “actual clients” who

had signed contracts with Abbott. Dkt. 9 at 9. However, this allegation does not appear anywhere

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in Abbott’s Petition. Instead, Abbott’s Petition merely makes the conclusory allegation that “third-

parties who search for Plaintiff’s trademarks in search engines are the Plaintiff’s Prospective

Clients, as it is reasonably certain that many of these third-parties will retain Plaintiff’s services.”

Petition, ¶ 10. Because this conclusory allegation fails to establish a reasonable probability of a

contractual relationship, which is an essential element of Abbotts’ tortious interference claim,

Abbott’s tortious interference claim should be dismissed.

        Abbott’s argument that AILC engaged in some independently tortious conduct also falls

flat. Abbott’s argument appears to be that AILC’s use of a trade name is somehow deceptive and

independently tortious because lawyers are prohibited from using trade names under the Texas

Disciplinary Rules of Conduct. This argument is puzzling because Abbott correctly points out

more than once that AILC is not a law firm and is therefore not subject to the prohibition on trade

names in the Texas Disciplinary Rules of Conduct. See Dkt. 9 at 6 (“AILC is a non-attorney entity

not bound by the Texas state Bar rules of ethics, which forbid a lawyer or law firm from using

trade names. Tex. Bar. R. 7.01.”), 9 (“AILC is not a law firm at all.”). Thus, it is entirely unclear

how AILC’s use of a trade name, which is perfectly permissible for a non-lawyer, is or could be

independently tortious or unlawful. This fanciful argument is insufficient to support the element

of independently tortious conduct that is required for its tortious interference claim. Abbott’s

tortious interference claim should be dismissed with prejudice.

D. Abbott’s Barratry Claim Fails and Should Also Be Dismissed With Prejudice.

        Abbott does not address the legal failings of its barratry claim in its Response. The fact that

Abbott does not attempt to defend its barratry claim implies its recognition that this claim fails as

a matter of law because (1) Abbott lacks standing to assert such a claim, and (2) Abbott has not

alleged that AILC engaged in any conduct that would incur civil liability for barratry. Accordingly,

Abbott’s barratry claim should be summarily dismissed with prejudice.

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                                         III. CONCLUSION

       For all of the foregoing reasons, Defendant Accident Injury Legal Center asks this Court

to dismiss Plaintiff’s Petition in its entirety pursuant to Rule 12(b)(6).

DATE: April 6, 2020                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this pleading was filed through the CM/ECF system
of the United States District Court for the Northern District of Texas, and that true and correct
copies of same were served by that system on all counsel of record.


                                                   /s/ Christopher J. Schwegmann
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